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  Case 8:21-cv-01736-TDC Document 95-21 Filed 09/06/23 Page 1 of 3
                 ACTS AND RESOLUTIONS

                                OF THE




             GENERAL               ASSEMBLY

                               OF T2E




      STATE OF GEORGIA,

                  PASSED IN ATLANTA, GEORGIA,


                               AT THlE




              SESSIOIN OF                   1870.



        COMPILED AND PUBLISHED BY AUTHORITY.




                        ATLANTA, GEORGIA:
                 PRINTED BY THE PUBLIC PRINTER.
                                1870.

                                                        18
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                 PUBLIC LAWS.-PENAL CODE-AMENDMENTS TO.    421
                   To preserve the peace and harmony of the people of this State, etc.




                       TITLE                            AVI.

                 PENAL CODE-AMENDMENTS                                 TO.
       SEoros.                                  SECTIONS.
        1. Carrying deadly weapons to certain    5. Section 415 of ihe Code changed-
               places prohibited.                       nolle prosequi.
        2. Violation--misdemeanoi-penalty.       6. All indictments, etc., submitted to a
        3. Chain-gang punishment prohibited.            jury.
        4. Punishment in lieu of chain-gang.

                                        (No. 285.)
       An Act to preserve the peace and harmony of the people of this State,
                              and for other purposes.
          SECTION 1. Be it enacted, etc., That, from and immediately after the    carrying
       passage of this act, no person in said State of Georgia be permit-            tet
       ted or allowed to carry about his or her person any dirk, bowie-   any
                                                                               tain places
       knife, pistol or revolver, or any kind of deadly      weapon,  to       prohibited.
       court of justice, or any election ground or precinct, or any place
       of public worship, or any other public gathering in this State, Exception.
       except militia muster-grounds.
          SEC. 2. Be it further enacted, That if any person or persons shall Violation a
       violate any portion of the above recited section of this act, he, or- peal
       she or they shall be guilty of a misdemeanor, and upon convic-
       tion shall be punished by a fine of not less than twenty nor more
       than fifty dollars for each and every such offense, or imprison-
       ment in the common jail of the county not less than ten nor more
       than twenty days, or both, at the discretion of the court.
          SEc. 3. All laws and parts of laws militating against this act are
       hereby repealed.
          Approved October 18, 1870.



                                        (No. 286.)
       An Act to alter and amend section 4245 of Irwin's Revised Code, by
         striking out of said section the words " to work in a chain-gang on
         the public works," and for other purposes.
          SECTION 1. Be it enacted, etc., That the words "to work in a Chain-gang
       chain-gang on the public works," which occur in fourth and fifth puiet
       lines of section 4245 of Irwin's Code, be, and the same are hereby,
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  Case4228:21-cv-01736-TDC DocumentCODE-AMENDMENTS
                 PUBLIC LAWS.-PENAL 95-21 Filed 09/06/23
                                                   TO.
                                                         Page 3 of 3

                                 To repeal Section 415 of the Revised Code.


                 stricken from said section, and chain-gangs shall no longer exist,
                 or be tolerated in the State of Georgia, for persons convicted of
                 misdemeanors.
                       SEc. 2. Be it further enacted, That said section be further amend-
     pmrhmenied, by substituting           for the words herein stricken out, the words
     einlieu    f"    to work on the city or town streets, or county roads, not longer
                 than six months; but in no case shall such prisoners be chained
                 or otherwise confined in a gang, but shall be guarded."
                    Snc. 3. Be it further enacted, That all laws and parts of laws in
                 conflict with this act be, and they are hereby, repealed.
                    Approved October 27, 1870.




                                                     (No. 287.)
                     An Act to repeal section four hundred and ffteen (415) qf Irwin's
                       Revised Code, in relation to entering nolle prosequis, wid to prescribe
                       the mode of settlement in criminal cases.

                       SECTION 1. Be it enacted, etc., That section four hundred and
      section 115 fifteen (415) of Irwin's Revised Code of Georgia, which said section
     to        ,."authorizes Solicitors-General in this State to enter a nolle prose-
     equ4 repeal. qui on indictments, be, and the          same is hereby repealed, and no
                 nolle prosequi shall be allowed, except it be in open court, for some
                 fatal defect in the bill of indictment, to be judged of by the court,
      Judge sanl in which case the presiding Judge shall order another bill of in-
       g bse dictment to be forthwith submitted to the grand jury.
                       SEC. 2. And be it further enacted by the authority aforesaid, That
          AU indict- all cases of indictments, or special presentments, shall be submit-
             ted to and passed upon by the jury, under the direction of the
         m ient
     iury.   presiding Judge, unless there is a settlement thereof between the
            sett.prosecutor and defendant, which settlement shall be good and
      geodwhe valid only by the approval and order of the court on examination
                     into the merits of the case.
                       SEc. 3. And be it further enacted, etc., That all laws and parts.of
                     laws conflicting with this act be, and the same are hereby, repealed.
                       Approved October 28, 1870.
